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 8                                 UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10

11
     MARIA C. LUNA,                                Case No. 3:20-CV-08097-EMC
12
                                     Plaintiff,    PLAINTIFF’S OPPOSITION TO
13
                                                   DEFENDANTS’ MOTION FOR
14          v.                                     SUMMARY JUDGMENT

15
     CALIFORNIA DEPARTMENT OF
16   CORRECTIONS AND REHABILITATION;
                                                   Date:            TBD
     CALIFORNIA MEDICAL FACILITY,
17                                                 Time:            TBD
                                                   Courtroom:       5
                                     Defendants.   Judge:           Hon. Edward M. Chen
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 1   I.        INTRODUCTION
 2         Defendants’1 Motion for Summary Judgment (“MSJ”), ECF No. 30, should be denied because
 3   Defendants have failed to carry their burden of showing there are no genuine issues of material fact. The
 4   actions Defendants took and failed to take in response to plaintiff Maria C. Luna’s (“Plaintiff”)
 5   workplace complaints were not reasonable. As a result, Defendants caused Plaintiff to suffer in a hostile
 6   work environment. Therefore, Defendants are not entitled to summary judgment.
 7   II.       COUNTERSTATEMENT OF FACTS
 8         Plaintiff is an Asian-American woman who has worked as an instructor at Defendant’s Correctional
 9   Medical Facility in Vacaville for two decades without incident other than the facts underlying this case.
10   She taught classes to inmates and was considered a valuable employee. While teaching her class one day
11   an inmate engaged in sexually threatening conduct towards her, exposing himself and masturbating
12   while staring at Plaintiff in a threatening manner. This inmate had a history of similar conduct at the
13   same facility. Plaintiff was subsequently menaced again and again by this inmate. Plaintiff suffered both
14   physical and emotional injuries as a result of these repeated encounters and asked that Defendants make
15   some accommodations that would minimize or eliminate her exposure to this inmate. Defendants did
16   nothing. Plaintiff then brought this suit.
17             A.     The IEX incident
18             Plaintiff is a Filipino-American registered nurse. She has been employed by Defendants since
19   June 4, 2004. On February 9, 2018, while acting within the course of and scope of her employment,
20   Plaintiff was conducting a morning Nurse Group when an inmate (“inmate” or “offending inmate”)
21   engaged in threatening behavior towards Plaintiff by exposing himself and masturbating while staring
22   intently at Plaintiff in an intimidating manner. (Hereinafter the indecent exposure incident (“IEX
23   Incident”)). Declaration of Maria C. Luna (“Luna Decl.”) at ¶¶ 2,3. Plaintiff suffered both emotional
24   trauma and physical injuries to her left ankle upon stumbling while attempting to run away from the
25   offending inmate. Luna Decl. at ¶3. In light of the IEX incident and the inmate’s prior history,
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      Defendants are California Department of Corrections and Rehabilitation (“CDCR”) and California
28   Medical Facility (“CMF”).

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 1   Defendants were fully aware of risks posed by the offending inmate to female employees and non-
 2   employees. February 22, 2022 Rule 30(b)(6) Deposition, Exhibit 2 to Declaration of Steven N.
 3   Williams in Opposition to Motion for Summary Judgment (“Williams Decl”), Freeman at 63:14-19.
 4          B.      Plaintiff’s Request and Defendant’s response to the IEX incident
 5          Since being imprisoned, the offending inmate has an extensive history of sexual misconduct and
 6   battery convictions, threatening staff, as documented in CDCR/CMF's “Rules Violations Report” and
 7   “Security Threat Group.” MSJ, Exh. D at p. 111-114. Following the incident, Plaintiff filed a report of
 8   the incident to the two O-2 wing correctional officers on duty, her immediate supervisor, and the
 9   sergeant on duty in the wing. Luna Decl. at ¶4. Although Defendants claim that they took prompt action
10   against the offending inmate in this case, there is no evidence that they took any action whatsoever in
11   response to Plaintiff’s request for accommodation – the only relevant issue on this motion. Failing to
12   make any accommodation at all is not reasonable given the continuing abuse suffered by Plaintiff each
13   time she encountered the offending inmate. Furthermore, there is no evidence that the offending inmate
14   was even banned from Plaintiff’s classrooms. Williams Decl., Exhibit 1, January 19, 2022 Rule 30(b)(6)
15   Deposition, Moeckly at 70:1-6.
16          C.      Plaintiff’s encounters with the inmate prior to the IEX incident
17          Prior to the IEX incident, during one of her classes attended by the inmate and while alone in the
18   classroom with him, Plaintiff, who is an Asian-American woman, was informed by the inmate that he
19   was in prison for murdering another Asian woman, saying he got a big rock, and he hit her on the head
20   and left her dying on the ground. Plaintiff did not seek this information and it was offered by the
21   offending inmate upon his own volition. Luna Decl. at ¶5.
22          D.      Plaintiff’s encounters with the Inmate after the IEX incident
23          Following the IEX incident in February, on October 12, 2018, Plaintiff noticed the offending
24   inmate staring at her. There was no one else around. At the time she was working in her classroom, and
25   the inmate stared at her through the classroom window. She is unaware of how long the offending
26   inmate continued to stare at her as she had her back turned away from the window while she taught the
27   disabled inmate. Luna Decl. at ¶6. Plaintiff was so frightened during this episode that she could not look
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 1   at the inmate, even while he stood staring at her. Luna Decl. at ¶7.
 2                On October 22, 2018, Plaintiff encountered the offending inmate in the O wing hallway. As she
 3   encountered him, he moved and walked towards the center of the hallway where she was. Luna Decl. at
 4   ¶8.
 5                On October 26, 2018, Plaintiff submitted a CDC 128-B form to the Custody and Nursing
 6   Supervisor stating her safety concerns and that she continued to feel threatened by the offending
 7   inmate. Defendants failed to notify Plaintiff of the outcome of the reported stalking incident or that any
 8   measures were taken to address her safety concerns. Furthermore, upon discovery it appears that this
 9   form was perhaps never looked at by anyone, but just placed into the offending inmate’s file. Defendants
10   could not identify any current staff member who may have reviewed Plaintiff’s October 26 128-B.
11   Williams Decl., Exh. 1, Moeckly at 32:1-9.
12                On November 29, 2018, the offending inmate entered Plaintiff's classroom unannounced and
13   without cause. The shock of this encounter caused Plaintiff severe trauma, chest pain, and hand
14   tremors. Luna Decl. at ¶9. The offending inmate then confronted Plaintiff while standing approximately
15   five feet away from her. After the incident, Plaintiff’s well-being was adversely affected and she was
16   distraught. The Nursing Supervisor sent Plaintiff home due to her emotional distress. Williams Decl.,
17   Exh. 1, Miles at 42:10-12. Plaintiff documented this incident on a “Therapeutic Intervention/Group
18   Progress Note.” MSJ, Exh. E.
19                E.      List of disputed facts
20           i.        Whether Defendants took reasonable action under the circumstances.
21          ii.        Whether Plaintiff’s complaint is time barred.
22   III.         LEGAL STANDARD
23                A party moving for summary judgment must initially identify “those portions of ‘the pleadings,

24   depositions, answers to interrogatories, and admissions on ﬁle, together with the aﬃdavits, if any,’

25   which it believes demonstrate the absence of a genuine issue of material fact.” Celotex Corp. v. Catrett,

26   477 U.S. 317, 322-23 (1986). “Once the moving party meets its initial burden, however, the burden

27   shifts to the non-moving party to set forth, by aﬃdavit or as otherwise provided in Rule 56, speciﬁc

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 1   facts showing that there is a genuine issue for trial.” F.T.C. v. Stefanchik, 559 F.3d 924, 927–28 (9th Cir.

 2   2009).     e court regards as true the nonmoving party’s evidence, if supported by aﬃdavits or other

 3   evidentiary material. Celotex, 477 U.S. at 324; Eisenberg v. Ins. Co. of N. Am., 815 F.2d 1285, 1289

 4   (9th Cir. 1987).     e moving party must satisfy its initial production in its opening brief, as a new

 5   argument cannot be raised for the ﬁrst time in a reply brief. See Simpson v. Lear Astronics Corp., 77

 6   F.3d 1170, 1176, 1176 n.4 (9th Cir.1995) (issues not raised in opening brief may not properly be raised

 7   in reply); In re Lal, No. C 01-1507 VRW, 2002 WL 449661, at 3 (N.D. Cal. Mar 15, 2002); United

 8   States v. Boyce, 148 F. Supp. 2d 1069, 1085 (S.D. Cal. 2001).

 9            On summary judgment, the Court cannot weigh the evidence or determine the credibility of the

10   deponents. See George v. Edholm, 752 F.3d 1206, 1214 (9th Cir. 2014) (noting that “credibility

11   determinations, the weighing of the evidence, and the drawing of legitimate inferences from facts” are

12   inappropriate on summary judgment) (internal quotation marks and citation omitted); Fed. Trade

13   Comm'n v. Lending Club Corp., No. 18-CV-02454-JSC, 2020 WL 2838827, at 9 (N.D. Cal. June 1,

14   2020).

15   IV.      ARGUMENT
16            A.     Defendants have failed to shift the burden to Plaintiff.
17            Defendants have failed to meet their initial burden as moving party to show that there is no
18   genuine issue of material fact, Stefanchik, 559 F.3d at 927-28, because they have failed to show they did
19   anything in response to Plaintiff’s requests. Instead, they simply argue that it was reasonable for them
20   not to do anything. As a result, Defendants have failed to show that there is no genuine dispute as to any
21   material fact on any of Plaintiff’s claims against Defendants, for which reason, Defendants’ MSJ should
22   be denied.
23            B.     Plaintiff experienced a hostile environment and the Defendants failed to take
24                   reasonable action under the said circumstances
25                   1.       Hostile environment
26            To establish the existence of a hostile work environment, under Title VII, an employee must
27   prove that (1) she was subjected to verbal or physical conduct of a sexual nature, (2) this conduct was
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 1   unwelcome, and (3) this conduct was sufficiently severe or pervasive to alter the conditions of
 2   employment and create an abusive working environment. Civil Rights Act of 1964, § 701 et seq., 42
 3   U.S.C.A. § 2000e et seq. In evaluating the objective hostility of a work environment, the factors to be
 4   considered include the “frequency of discriminatory conduct; its severity; whether it is physically
 5   threatening or humiliating, or a mere offensive utterance; and whether it unreasonably interferes with an
 6   employee’s work performance.” McGinest v. GTE Serv. Corp., 360 F.3d 1103, 1113-15 (9th Cir. 2004)
 7   (citations omitted). The required level of severity or seriousness varies inversely with the pervasiveness
 8   or frequency of the conduct. Id. (internal quotation marks omitted) (citations omitted).
 9          Defendants baldly claim that as a reasonable woman and a trained registered nurse, Plaintiff
10   chose to work in an environment as such the one in question and cannot reasonably call the setting
11   abusive or hostile based on one reported incident. However, this is not the case. As provided
12   hereinabove, there have been at least three more incidents where the offending inmate has caused
13   Plaintiff immense fear for her safety and well-being, which have further manifested in the form of
14   physical symptoms such as hand tremors, palpitations, and severe trauma. Luna Decl. at ¶10.
15          Defendants fail to take cognizance of the fact that the latest reported incident on November 29,
16   2018, cannot be seen in isolation. Rather, it must be considered within the larger context of the IEX
17   incident in February 2018. This is also because Defendants were aware that Plaintiff continued to
18   remain fearful of the offending inmate and that she had requested accommodations. Williams Decl.,
19   Exhibit 4; Exh. 2, LeasureBrown at 12:9-16.
20          Firstly, the IEX incident on February 9, 2018, is unequivocally one of a threatening, hostile
21   sexual nature. The said incident fits squarely within the definition of inmate sexual conduct and requires
22   a stipulated protocol to be followed upon the incident being reported. Williams Decl., Exhibit 5. The
23   IEX incident entailed physical conduct of a sexual nature and was unwelcome by Plaintiff.
24          The constant encounters adversely affected Plaintiff physically and mentally. At no point during
25   her employment was Plaintiff offered alternate accommodations or given duties that kept her physically
26   away from the offending inmate’s vicinity. Following her third encounter with the offending inmate,
27   Plaintiff began to experience physical symptoms of this abuse and trauma. Furthermore, she took
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 1   conscious steps to place herself away from the offending inmate each time he encountered her. Luna
 2   Decl. at ¶11. Such intentional efforts were Plaintiff’s means to steer clear of the offending inmate and
 3   find ways to mitigate the abuse she was undergoing. Luna Decl. at ¶12.
 4             Defendants’ argument that Plaintiff was not subject to an abusive work environment suffers a
 5   vital lacuna. But for the IEX incident, the offending inmate’s subsequent stalking outside Plaintiff’s
 6   classroom, and his contrived and intimidating entry into her classroom, Plaintiff would not have suffered
 7   the physical and emotional harm that she experienced. Williams Decl., Exhibit 6 (“Physician’s
 8   Notes”). In reality, she was suffering in an abusive environment, without any concrete and reasonable
 9   action by Defendants to accommodate, or even to address, her concerns.
10             Defendants’ lack of action towards the offending inmate’s conduct was sufficiently severe or
11   pervasive to alter the conditions of employment and create an abusive working environment. For the
12   reasons stated above, Plaintiff suffered a hostile work environment.
13                    2.      Lack of reasonable action
14             Even in an inherently dangerous working environment, the focus remains on whether the
15   employer took reasonable measures to make the workplace as safe as possible. The CDCR is not, by
16   simple virtue of its status as a correctional institution, immune under Title VII from a legal obligation to
17   take such measures and to protect its employees to the extent possible from inmate sexual abuse. Freitag
18   v. Ayers, 468 F.3d 528, 539 (9th Cir. 2006). In the Ninth Circuit, employers are liable for harassing
19   conduct by non-employees “where the employer either ratifies or acquiesces in the harassment by not
20   taking immediate and/or corrective actions when it knew or should have known of the conduct.”
21   Folkerson v. Circus Circus Enters., Inc., 107 F.3d 754, 756 (9th Cir.1997); see also Little v. Windermere
22   Relocation, Inc., 301 F.3d 958, 968 (9th Cir.2002); cited in Freitag v. Ayers, 468 F.3d at 538.
23             When an inmate commits the act of indecent exposure, he is supposed to be removed from the
24   general population and placed in administrative segregation pending an outcome of the institutional
25   classification committee. Following this, a CDCR-115 rules violation report is issued, and the incident is
26   referred to the local district attorney’s office for felony prosecution. Williams Decl., Exh. 1, Moeckly at
27   26:1-5.
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 1          As provided hereinabove, the CDCR is not immune under Title VII from any legal obligation to
 2   ensure the protection of its employees. Despite these pressing obligations, Defendants deferred any
 3   action for reasonable accommodations, and did not even, at the bare minimum, volunteer a
 4   determination of any other employment opportunities for Plaintiff. Williams Decl., Exh. 2, Barnes at
 5   9:9-15. This is despite the fact that Plaintiff was open to accepting any other job in order to preclude any
 6   further encounters with the offending inmate. Luna Decl. at ¶13.
 7          On September 2, 2020, Defendants received information that there was a doctor’s note placing
 8   Plaintiff on modified activity starting August through September 2020. Upon the receipt of information
 9   that any restrictions sought are permanent, Defendants, and particularly the Disability Management
10   Unit, is responsible for ensuring there is discussion with Plaintiff concerning the permanent restrictions,
11   her interests in pursuing employment, and whether she wishes to maintain employment within the
12   agency. Despite a determination that the restrictions were permanent in November last year, such a
13   discussion has not happened till date. Williams Decl., Exh. 2, Barnes at 23:9-23. Furthermore, no
14   accommodations have been offered to Plaintiff and neither Defendants nor its agents have provided any
15   reason for the same. Williams Decl., Exh. 2, Barnes at 24:3-9; Freeman at 27:11-14.
16          In this case, Defendants’ actions fail to qualify as “reasonable”, let alone meet the obligations
17   laid down that the CDCR is not exempt from taking measures “to the extent possible” to protect its
18   employees from sexual harassment. Freitag, 468 F.3d at 539.
19          Defendants state that it is physically impossible for the offending inmate to receive his treatment
20   and also avoid crossing paths with Plaintiff. But per recent testimony, it is determined possible to use
21   walkie-talkies and at the very least, intimate Plaintiff if the offending inmate is in the hallway. Williams
22   Decl., Exh. 2, Freeman at 34:14-22. Another possible option would have been banning the offending
23   inmate from Plaintiff’s classrooms, but this was also apparently not considered by Defendant. Williams
24   Decl., Exh. 1, Moeckly at 66:14-24. There is no dearth of options for reasonable action that could have
25   been undertaken by Defendants. Representatives of Defendants have further confirmed that the
26   offending inmate could have also been transferred to a different facility. Although such action would be
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 1   contingent on factors such as the inmate’s enemy situation, classification score, among others. Williams
 2   Decl., Exh. 1, Moeckly at 109:9-24; 110:1-13.
 3             Defendant’s own representatives remain unaware of any restrictions placed on the offending
 4   inmate and have confirmed that it is unreasonable that the offending inmate was not placed under a ban
 5   from entering Plaintiff’s classroom following the IEX incident. Williams Decl., Exh. 1, Moeckly at 70:1-
 6   6.
 7             Furthermore, there are no documents whatsoever showing any offers to Plaintiff to work in
 8   different local facilities and her denial of such offers. Yet Defendants baldly argue that their actions in
 9   this case are reasonable. Williams Decl., Exh. 2, Freeman at 43:1-6; 47:6-16; LeasureBrown at 16:16-21.
10   Although Defendants maintain that they carried out reasonable action to ensure Plaintiff is protected
11   from sexual harassment, the facts and circumstances described hereinabove prove otherwise.
12             Defendants’ inaction, disinterest, and flagrant disregard for the safety of Plaintiff exhibits an
13   unequivocal ratification or acquiescence in the harassment she faced. Freitag, 468 F.3d at 538. For the
14   reasons stated above, Defendants failed to take reasonable action to protect Plaintiff from a hostile work
15   environment.
16             C.     Plaintiff’s Claims are Not Barred by the Statute of Limitations
17         Defendants’ argument that Plaintiff’s complaint is time-barred is incorrect. Pursuant to Fed. R. Civ.
18   P. 6(a)(1)(C), the 90-day deadline to file a complaint at minimum would have fallen on November 11,
19   2020. As this date fell on Veteran’s Day, a federal holiday, the last date to file was, at minimum,
20   extended to November 12th. Fed. R. Civ. P. 6(a)(2)(6).
21   V.        CONCLUSION
22         For the reasons stated above, Defendants’ MSJ should be denied in its entirety.
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